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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLUMBIA
IN RE:

Lorie Lynn Rones, DEBTOR                            CASE NO. 18-00728-SMT

Walter L Peacock, NON-FILING CO-DEBTOR              TRIAL DATE: May 23, 2019

Nancy Spencer Grigsby, TRUSTEE                      CHAPTER 13



    NOTICE OF CONTINUED HEARING ON MOTION FOR RELIEF FROM STAY
               2922 Pennsylvania Ave SE, Washington, D.C. 20020

         HSBC Bank USA, National Association, as Trustee for Nomura Home Equity Loan, Inc.,
Asset-Backed Certificates, Series 2006-FM2 herein, has filed papers with the court seeking relief
from the automatic stay of 11 U.S. C. Sec. 362 (a) to enable it to collect all or any part of a
consumer debt from the Debtor and/or from an individual that is liable on the debt with the
Debtor or has guaranteed the debt. Your rights may be affected. You should read these papers
carefully and discuss them with your lawyer, if you have one in this bankruptcy case. (If you do
not have a lawyer, you may wish to consult one.)


         The hearing is scheduled for May 23, 2019 at 2:00 p.m. before the United States
Bankruptcy Judge for the District of Columbia, in Courtroom No. 1, 2nd Floor, 333 Constitution
Avenue, NW, Washington, DC 20001.

DATE: May 3, 2019                               /s/ Dinh Ngo, Esq. [dn 5/3/19]
                                                Dinh Ngo, Esq
                                                Attorney for Movant
                                                Bar No. VA055
                                                McCabe, Weisberg & Conway, LLC
                                                312 Marshall Avenue, #800
                                                Laurel, MD 20707
                                                301-490-1196
                                                bankruptcyva@mwc-law.com




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                                CERTIFICATE OF SERVICE

I hereby certify that a copy of the Notice of Preliminary Hearing, Notice of Motion for Relief from
Stay, and the Motion for Relief from Stay with exhibits were mailed, first class, postage prepaid, on
May 3, 2019, to Lorie Lynn Rones, 2920 Pennsylvania Ave, SE, Washington, D.C. 20020, Walter L
Peacock, 2920 Pennsylvania Ave SE, Washington, D.C. 20020, Kevin D. Judd, Attorney for Debtor
at 601 Pennsylvania Ave., N.W., Suite 900 - South Building, Washington, D.C. 20004 and Nancy
Spencer Grigsby, Trustee at 185 Admiral Cochrane Dr., Suite 240, Annapolis, MD 21401.


                                                                   /s/ Dinh Ngo, Esq.
                                                                   Dinh Ngo, Esq




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